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                                 CERTIFICATE OF SERVICE

                 I, Brett S. Turlington, certify that I am not less than 18 years of age, and that

service of the foregoing Notice of Hearing Regarding Chapter 11 Trustee’s Motion for Entry

of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by

and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances,

and Interests, (III) Approving the Assumption and Assignment of Certain Contracts and

Related Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief was

caused to be made on February 12, 2020, in the manner indicated upon the parties on the

attached list.


Date: February 12, 2020                                      /s/ Brett S. Turlington
                                                             Brett S. Turlington (No. 6705)




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